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22-2885-cr
  United States Court of Appeals
                          for the

                 Second Circuit


              UNITED STATES OF AMERICA,


                                                            Appellee,


                           – v. –


                     JUAN TAVERAS,


                                                 Defendant-Appellant.

              ––––––––––––––––––––––––––––––
    ON APPEAL FROM THE UNITED STATES DISTRICT COURT
         FOR THE EASTERN DISTRICT OF NEW YORK


      BRIEF FOR DEFENDANT-APPELLANT
  Pursuant to Anders v. California, 386 U.S. 738 (1967)


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                           JURISDICTIONAL STATEMENT



         This is an appeal from a final judgment [A-56]1 of the United States District Court

for the Eastern District of New York, (Joanna Seybert, J.) entered October 24, 2022,

convicting appellant, Juan Taveras (hereinafter “Taveras”) upon his plea of guilty to

Count 1 of the indictment [A-10] filed under Docket # 19 CR 265 (JS), charging

Conspiracy to Distribute and Possess with Intent to Distribute Controlled Substances in

violation of 21 U.S.C. §§ 846; 841 (b)(1)(A)(i) and (b)(1)(C). Taveras pleaded guilty to

the charge pursuant to an agreement with the Government [A-14]. The District Court

sentenced him to serve the mandatory minimum 120 months' imprisonment, followed

by five years’ supervised release, with conditions outlined in the Judgment [A-58-60];

and to pay a $100 special assessment.

         Jurisdiction in the District Court was pursuant to 18 U.S.C. § 3231. A Notice of

Appeal [A-63] was timely filed on November 7, 2022.

         Jurisdiction in this Court is conferred pursuant to 28 U.S.C § 1291.




1   Material in brackets refers to pages of the Appendix.
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                            STATEMENT OF THE CASE

FACTS

      Between January, 2019 and April, 2019, Taveras was involved in the distribution

of controlled substances in New York City and Long Island. He engaged in a number of

telephone conversations related to the distribution of heroin, but unfortunately for him

he was speaking with a government informant who recorded the calls. The culmination

of the negotiations was an arranged sale of a kilogram of heroin in Hempstead, Nassau

County. On April 18, 2019, Taveras traveled from the Bronx to Hempstead where he

met the purchaser. The meeting was under surveillance, and when Taveras arrived he

was arrested. In his possession in the vehicle was a package containing approximately

900 grams of heroin, and about 40 grams of cocaine. The cocaine belonged to Taveras

for his personal use, and the government conceded that it was not a part of the transaction

when Taveras pleaded guilty. [Plea Transcript, p.13, A-34]


THE PROCEEDINGS IN DISTRICT COURT

      On April 19, 2019, a Complaint was filed in the United States District Court for

the Eastern District of New York, in which Taveras was charged with Conspiracy to

Distribute a Controlled Substance and Possession of a Controlled Substance with Intent

to Distribute, 21 U.S.C. §841(b)(1)(A) and §846. That same day, Taveras appeared

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before a Magistrate Judge in the Eastern District, and CJA counsel (this writer) was

appointed. A permanent order of detention was entered. [A- 8, DE # 6 ]

         The Indictment [A-10] was filed on June 12, 2019, charging the same two crimes.

The arraignment was conducted on June 19, 2019, when Taveras again appeared before

a Magistrate Judge and entered a Not Guilty plea. [A-8, DE # 11]2          The case was

assigned to Hon. Joanna Seybert.

         Over the ensuing months, discovery was provided and reviewed, and plea

negotiations were entered into. Those negotiations resulted in a proposed plea which

required the defendant to enter a plea to the charged conspiracy, in exchange for which

the government agreed to dismiss the substantive charge and, most importantly,

recommend a sentence of 120 months, the statutory mandatory minimum. After several

discussions with counsel and an interpreter, Taveras rejected the offer, and he and his

family then retained counsel. CJA counsel was relieved on January 15, 2020 when

Attorney Christopher B. Shella filed a Notice of Appearance. [A- 7, DE #20]

         Four months later, on May 7, 2020, for undisclosed reasons, Shella was relieved

and directed to refund a portion of his fee to the family. [A- 6, DE # 27] Shortly

thereafter, Attorney Lauriano Guzman was retained and filed a Notice of Appearance on

May 26, 2020. [A- 6, DE # 28]


2   DE refers to Docket Entries on the District Court docket.
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THE PLEA AGREEMENT AND APPELLATE RIGHTS WAIVER

      On October 14, 2020, represented by Mr. Guzman, the defendant and the

Government entered into a plea agreement [A-14 -21], pursuant to which Taveras would

plead guilty to Count 1 of the Indictment, in full satisfaction of all charges, and the

Government agreed to dismiss the remaining charges. Count 1 charged Taveras with

Conspiracy to Distribute and Possess with Intent to Distribute a Controlled Substance,

21 U.S.C §§ 846 and 841 (b)(1)(A)(i)). The plea agreement outlined the potential

penalties, including the term of imprisonment of ten years to life imprisonment, a

supervised release term of 5 years, as well as the fine range, and the mandatory nature

of the $100 special assessment. [A-14-15]. Restitution was not applicable, and although

the plea agreement contained a general forfeiture provision, the government did not seek

forfeiture at sentencing.


      The agreement set out the calculation of the estimated applicable United States

Sentencing Guidelines (“U.S.S.G. or Guidelines”). The parties agreed that the Base

Offense Level was 30, under U.S.S.G. §2D1.1(a)(5). A three level adjustment for

Acceptance of Responsibility reduced the final offense level to 27.[A-16] The parties

agreed that Taveras’s Criminal History Category was III. [A-16]

      This calculation yields a range of imprisonment of 87 to 108 months, but because

the statutory mandatory minimum was ten years, the Guideline Range became 120


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months as a result. [A-16]. The plea agreement advised Taveras that the Court was not

bound by the Guidelines estimate, and that if the sentence were outside the range, he

would not be entitled to withdraw his plea. [A-16] The parties agreed that either the

Government or the defense would have the ability to present any relevant material to the

Court in connection with sentencing.

      Of significance here, the plea agreement contained a waiver of the defendant's

right to appeal or otherwise challenge any sentence of 151 months or below. [A-17] The

agreement expressly provided that this waiver is effective regardless of the methodology

the Court used to arrive at the guideline range or the sentence. [A-17]

      The defendant waived his right to further discovery material. [A-17]

      The agreement contained a provision advising the defendant that if he is not a

citizen of the United States (which he is not, and which all parties acknowledged during

the proceedings) he is subject to additional consequences, which may include automatic

removal from the United States. [A-19]

      The agreement contained an acknowledgment that Taveras had read the entire

agreement, discussed it with his attorney, understood all the terms, and entered into the

agreement voluntarily and knowingly. [A-21] He signed the agreement, as did his

attorney, Lauriano Guzman. [A-21]




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THE PLEA PROCEEDING AND ALLOCUTION

      On October 16, 2020, the defendant and counsel Lauriano Guzman appeared

before Judge Seybert for the purpose of entering a guilty plea pursuant to the

aforementioned agreement. [Plea Transcript, A-22-38] An official court interpreter was

also present, as Taveras does not speak English. It should be noted that Guzman speaks

fluent Spanish and was able to communicate readily with Taveras during his

representation.

      Judge Seybert proceeded to question Taveras about his education and his physical

and mental health. [A-24] Taveras denied any mental health issues or substance abuse

issues, although he complained of myriad physical health issues. He described taking

medication for a number of conditions, but indicated that he understood the proceedings

and was ready to enter a plea. [A-25] The Court determined that Guzman had no issues

communicating with Taveras [A-25], and Taveras agreed he had enough time to consider

the plea. [A-25] He told Judge Seybert that he had reviewed the agreement with his

lawyer, and that he was satisfied with Mr. Guzman and the work he had done. [A-26]


      Judge Seybert then again advised Taveras of the maximum and minimum terms

of imprisonment, and the parameters of supervised release. [A-26] She explained the

maximum fine and the mandatory special assessment. [A-27]


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      Significantly, Judge Seybert advised Taveras that he will be deported after serving

his sentence, and Taveras acknowledged his understanding. [A-27]

      Taveras’ attorney also acknowledged having advised Taveras of the immigration

consequences of his plea. [A-28]

      She then advised Taveras of the rights that he was waiving by his plea. [A-28]

            “THE COURT: You also know that you have a right to go to
            trial. You are presumed to be innocent. You have a Fifth
            Amendment right against self-incrimination. If you do not
            testify, I would tell the jury that they could not hold that
            against you. They could not even consider it. And your
            failure to testify would not even be discussed in the jury
            room. Of course, you could testify if you wanted to.
                                         ***
            THE COURT: Mr. Taveras, you understand that the
            government has the burden of proof. They have to present
            evidence that will prove beyond a reasonable doubt you
            committed the crimes charged; each and every element. You
            don’t have to present any evidence. The burden remains on
            the government.
                    Mr. Taveras, you are entitled to a public, speedy trial
            by a jury and assistance of counsel, and if you didn’t have
            funds to retain counsel, counsel would be appointed.
                    You are retained, correct, Mr. Guzman?

            MR. GUZMAN: That is correct, Your Honor.

            THE COURT: Thank you, sir.
            (To the defendant): You also have a right to have counsel
            throughout every portion of the proceedings. You have the
            right to subpoena evidence, compel witnesses to testify,
            cross-examine them, confront them, and you would have
            appellate rights that you could pursue if you were convicted.
                   Do you understand that?

            THE DEFENDANT:            Yes. “ [A-28-29]
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      Judge Seybert then turned to the plea agreement discussed above. She ascertained

that the agreement had been translated, and the defendant acknowledged that Mr.

Guzman had read it to him in Spanish [A-29-30] The Court discussed the guidelines,

and noted that the mandatory minimum, “the sentence I must give you” [A-30] must be

at least 120 months. The defendant also acknowledged that he had agreed not to

challenge the drug type and quantity.

      Judge Seybert discussed with Taveras the appellate waiver, noting that he had

agreed not to appeal any sentence of less than 151 months, and that he would not be able

to get his plea back. [A-31] Taveras said that he understood.

      Taveras affirmatively stated that no one had forced him to plead, or made any

promises as to what the sentence would be. [A-31]. The Court noted that the Government

had agreed to bring no further charges against Taveras, and not to take a position on

where within the guidelines range the sentence should fall, and they would not seek an

upward departure from the guidelines. [A-31] She then briefly discussed financial issues,

and Taveras noted that he had nothing.

      Judge Seybert then asked the Assistant United States Attorney to outline the

government’s expected proof at trial [A-33]. Following that, she asked Taveras to tell

her what he did. He told her that he “came to sell that stuff I got” [A-33] and when asked


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what that was, he said “heroin”[A-34]. He agreed that he was going to sell the heroin to

another person [A-34].

      After some colloquy about the cocaine (which the government conceded was not

a part of the transaction) the Court asked Taveras how he was pleading to Count One,

and he replied “I don’t lie. I’m guilty. I came to tell that.” [A-35]

      Judge Seybert then found that Taveras had made a “knowing and voluntary waiver

of your rights under Rule 11 and there is certainly a factual basis to believe you

committed the crime as charged.” [A-35] Although she never formally used the words

of acceptance, it is clear from the context of the plea allocution that the Court did, indeed,

accept the plea. She then scheduled sentencing and discussed some of the defendant’s

medical issues.

      The Presentence Report was disclosed, and Mr. Guzman submitted a

memorandum on Taveras’ behalf related to sentencing on April 16, 2021. [A-5, DE #

36]. Significantly, that submission included an acknowledgment of the mandatory

minimum of ten years, and a recommendation for that to be the sentence imposed.

Sentencing was adjourned several times, and then Taveras filed a pro se letter seeking

to withdraw his plea on August 2, 2021.

DEFENDANT’S ATTEMPT TO WITHDRAW THE PLEA

      The defendant’s attempt to withdraw his plea was based on his unsubstantiated

claim that Guzman had told him that the maximum sentence was ten years. As a result

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of that conflict, Guzman was allowed to withdraw, and present counsel was then re-

appointed. The Court adjourned a hearing on the motion, and after a number of

adjournments occasioned by both the pandemic and the defendant’s refusal to come to

court, the Government filed a submission in opposition to the motion on January 7, 2022.

On March 29, 2022, the court took the motion under consideration and reserved decision.


THE SENTENCING HEARING

      On October 17, 2022, the parties appeared before Judge Seybert for sentencing.

[A-39]. Judge Seybert began the proceeding by recapping the submissions she had

reviewed in preparation for sentencing, and addressed the issue of the defendant’s

motion. She noted that Taveras had been aware of the mandatory minimum, had

previously acknowledged it during his plea allocution, and his attorney, Mr. Guzman,

had not only acknowledged the mandatory minimum but affirmatively advocated for its

imposition. Judge Seybert found no basis for the withdrawal of the plea, and denied the

motion to vacate it. [A-42]

      Counsel addressed the Court, [A-43-44] and particularly addressed the issue of

the defendant’s request. Counsel pointed out that he had reviewed the PSR and had

discussions with the defendant. In spite of the defendant’s insistence that he would not

“accept the ten years”, it was clear to all that there was no choice.

      Taveras was given an opportunity to speak. Before he did, the Court had him

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sworn, and advised him of the consequences of perjury. [A-45] She then reminded him

that he had been sworn at the time of his plea allocution, and had then been aware of the

mandatory minimum. Significantly, Taveras recalled that the Court had told him about

the mandatory minimum and the certainty of deportation [A-46], but moments later

denied having been told that the Court must impose the 120 month minimum [A-47] and

claimed that Guzman had misled him by advising that the maximum sentence was ten

years, not the minimum.

      After Judge Seybert reminded him that he had agreed not to challenge the drug

type and quantity, and had admitted that he possessed the heroin [A-47], Taveras

claimed that he had “from day one” been saying that he didn’t bring drugs, but rather

“roach repellant[sic] powder”. [A-48] The Court engaged in a colloquy with the

defendant, who maintained his position that he had been carrying roach powder, not

drugs, in spite of the clear evidence that the substance was heroin, and his own prior

admissions in both the plea agreement and the plea allocution.

      The Court then turned to the Guidelines, and counsel agreed [A-50] that the

Guideline calculation in the PSR : offense level 27 (after acceptance of responsibility)

and Criminal History Category IV, yielding a range of 100-125 months. With the

mandatory minimum, the range became 120-125 months. The government agreed with


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that calculation. [A-50]

      The Court rejected the defendant’s contention that the substance was roach

repellent, and found that the government had established the type and quantity of drugs.

[A-51]. She then proceeded to impose a sentence of 120 months, the mandatory

minimum, along with three years of supervised release and a $100 special assessment.


      The Court then advised the defendant of his right to appeal, (in spite of the waiver)

and that he had to file a Notice of Appeal within 14 days of the entry of judgment, and

that he could proceed in forma pauperis if he could not afford the costs. The defendant

advised counsel that he wanted to appeal, and counsel so advised the Court. [A-54]

      Judgment consistent with the in court pronouncements was entered on October

25, 2022. [A-56]

      On November 7, 2022, in spite of the appellate waiver in the plea agreement,

defense counsel, at the defendant’s request, filed a timely Notice of Appeal. [A-63]

      This appeal followed.




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                            SUMMARY OF ARGUMENT

      Because the defendant entered a counseled guilty plea pursuant to an agreement

with the government, which included a waiver of his right to appeal any sentence of 151

months or less, there are no non-frivolous issues to raise on appeal where the defendant

was sentenced to 120 months imprisonment, the statutory mandatory minimum

sentence.




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                                     ARGUMENT

                    THERE ARE NO NON-FRIVOLOUS ISSUES
                           TO RAISE ON APPEAL.


                                      POINT ONE

      DEFENDANT’S PLEA AND WAIVER OF APPELLATE RIGHTS WERE
              KNOWING, VOLUNTARY, AND COMPETENT


        In United States v. Gomez-Perez, 215 F.3rd 315 (2nd Circuit, 2000) this Court set

forth the matters to be addressed in an Anders3 brief where there is a waiver of appellate

rights, as in the case at bar. Counsel must address these limited issues: 1) “whether

defendant’s plea and waiver of appellate rights were knowing, voluntary, and competent,

(internal citations omitted) or 2) whether it would be against the defendant’s interest to

contest his plea, and 3) any issues implicating a defendant’s constitutional or statutory

rights that either cannot be waived, or cannot be considered waived by the defendant in

light of the particular circumstances,” Gomez-Perez, supra at 319.


        It is clear from a thorough review of the record in this case, including the plea

agreement and the transcripts of the plea and sentencing proceedings, that there are no

issues to be raised in this Court. The defendant was convicted after his plea of guilty in



3   Anders v. California, 388 U.S. 738 (1967)
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accord with the provisions of a valid plea agreement, and the sentence imposed, the

mandatory minimum, was within the parameters of the appellate waiver.

      As detailed in the Statement of the Case, supra, during the plea allocution, the

District Judge made a determination of Taveras’s competence to plead, as required. The

plea allocution includes his admission to all the elements of the crime of which he was

convicted. After having been advised of the rights he was entitled to assert, and which

he would be waiving by pleading guilty, Taveras told Judge Seybert that he understood

his rights and wished to waive them. He then admitted to bringing heroin to Long Island

from the Bronx, which constituted the factual basis of the plea.

      During the course of the allocution, the defendant affirmatively stated, under oath,

that his plea was voluntary, with no coercion and no promises regarding sentence except

for the mandatory minimum. He acknowledged that he was satisfied with the services

provided by his retained counsel, and that he had sufficient time to review the case with

counsel.

      The waiver of rights was given knowingly and with a full understanding of his

criminal exposure, which was not only contained in the written, signed plea agreement,

but was explained to him by competent counsel, and again by the District Judge. The

constitutional requirements for a valid plea were met. Boykin v. Alabama, 395 U.S. 239

(1969). “A plea of guilty is considered voluntary and intelligent if the defendant enters

the plea with full awareness of its ‘direct consequences’” Wilson v. McGinnis, 413 F. 3rd

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196 (2nd Circuit, 2005), citing Brady v. United States, 397 U.S. 742, 755 (1970). No

formulaic recitation is required; a plea allocution is valid if “…it is clear from the facts

and circumstances that the defendant intended to plead guilty, affirmatively admitted his

guilt, stated that he was entering his plea voluntarily, and fully believed he was pleading

guilty.” United States v. Grandia, 18 F.3d 184, 187 (2d Circuit, 1994). The record

supports a finding that Taveras knowingly and voluntarily pleaded guilty, and the

District Judge satisfied herself that he understood what he was undertaking to do. His

plea was knowing, voluntary, and competent, and the product of his informed, counseled

choice.

         This is so in spite of the defendant’s later attempt to withdraw his plea. The

District Judge found that the defendant was, in essence, “faking” [A-49] his claims of

not understanding, after a forensic psychological examination. She found that all of the

circumstances established the defendant’s plea to be voluntary and counseled, with a

factual basis. She found that his attorney at the time of the plea had advised him of the

mandatory minimum sentence, and that the defendant’s claim to the contrary had no

basis.

         The appellate waiver is presumptively enforceable, United States v. Arevalo, 628

F. 3rd 93 (2nd Circuit, 2010), United States v. Arvanitakis, 2020 U.S. App.LEXIS 9344

(2nd Circuit, 2020). The exceptions to that presumption are narrowly circumscribed, see

Gomez-Perez, supra. In this case, the waiver was clearly made knowingly, voluntarily

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and competently, all of those factors being thoroughly explored by the Court during the

plea allocution. There is nothing in the record which would lead one to conclude that the

sentence was based upon an impermissible factor, such as ethnic or racial bias, which

might invalidate the waiver. There was no allegation of a breach of the agreement by the

Government, and in fact there was no such breach. The District Judge clearly spelled out

her rationale for the imposition of the sentence, and the sentence she imposed was, as

noted a number of times herein, the mandatory minimum and below the threshold of the

appellate waiver. Thus, the appellate waiver is enforceable, and there are no issues to

be raised on this appeal concerning the sentence imposed.

      Contesting the plea would not be in the defendant’s interest. The defendant

admitted his conduct in traveling to Long Island to deliver a kilogram of heroin. He was

surveilled on his journey, and arrested in a vehicle in possession of more than 900 grams

of heroin and a quantity of cocaine. His later effort to claim that the substance was roach

repellent was clearly untrue. The government provided laboratory reports of the analysis

of the substance, and Taveras admitted that it was heroin during his plea. There is no

viable defense to the charges, which are based on the defendant’s admissions and the

evidence of the arrangements for the drug deal, as well as the lab reports. He was

sentenced to the mandatory minimum of ten years, which he was informed of by at least

two different attorneys and the Court itself. This was a reasonable sentence under the

circumstances, and one which the defendant himself anticipated by entering into the plea

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agreement and waiving his right to appeal such a sentence.

         He pled guilty to a single count in a multiple count indictment, and was sentenced

to the minimum possible, but a successful contest of the plea would result in a trial. Such

a trial would be very likely to result in a conviction, and his guidelines would then be

substantially higher than the minimum due to loss of the 3 level reduction of the

guidelines for acceptance of responsibility which the Court awarded. Given the

assertions Taveras made at sentencing regarding the drugs (his claim of roach powder)

and his unfounded assertion that he was told the maximum was ten years, he would

likely be subject to an enhancement for obstruction of justice, and could be indicted for

perjury as well. Therefore, the withdrawal of the plea would be very much against his

interests. This plea, given Taveras' admitted role in the offense and his previous criminal

history, was clearly in his best interest, and his sentence could not legally have been

lower.

         Since Taveras knowingly and voluntarily waived his Constitutional and trial

rights, and knowingly and voluntarily entered into a plea agreement, no legal basis exists

for the withdrawal of the plea. Among the rights he waived was the right to appeal any

sentence which was below 151 months. Because Judge Seybert sentenced him to 120

months, the waiver of the right to appeal is effective. Thus, there are no issues for this

Court to consider.




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                                     POINT TWO

                THERE ARE NO OTHER ISSUES TO BE RAISED

      The record has been thoroughly searched. The defendant‘s Constitutional and

statutory rights were protected, both by his own counsel and by the District Court, as is

clear from the record. The Court took pains to assure itself that the defendant understood

his rights, and knew what he would be giving up by pleading. The defendant responded

appropriately to the Court’s questions during his allocution, and made it clear that he

understood the proceedings.


             The defendant’s insistence, before and during sentencing, that he possessed

roach powder, not heroin, is belied by his own admission during the plea allocution and

by his signing of the plea agreement with the assistance of competent counsel, who

spoke the defendant’s native Spanish. Similarly, his insistence that he was told that the

maximum, not minimum, sentence was ten years is refuted by his attorney’s sworn

affirmation at the time of the motion to replace him. Mr. Guzman unequivocally

represented to the Court that he told Taveras of the minimum sentence. Present counsel

(this writer) also told him the same thing, on multiple occasions. The defendant’s

“buyer’s remorse” is simply not enough to raise an issue for this Court.




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      It is apparent from a review of the facts and the law that there are no issues which

can be raised on this appeal which are not frivolous. The defendant entered a plea

pursuant to an agreement which contained a waiver of appellate rights, and was

sentenced below the parameters of the waiver.           Accordingly, counsel requests

permission to withdraw from this appeal. Anders v. California, 388 U.S. 738 (1967).

                                   CONCLUSION



      For the reasons stated above, the judgment of conviction and the sentence imposed

may be affirmed, and counsel’s motion for permission to withdraw should be granted.


DATED :     Garden City, New York
            April 24, 2023




                                              Respectfully submitted,



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                          CERTIFICATE OF COMPLIANCE


               Pursuant to Rule 32 (a) (7) (C) of the Federal Rules of Appellate Procedure,

JOHN S. WALLENSTEIN, ESQ., counsel of record for Defendant-Appellant JUAN

TAVERAS hereby certifies that the foregoing brief for Defendant-Appellant is in

compliance with the type-volume limitations set forth in F.R.A.P. 32 (a) (7) (B), in that

it contains 4,575 words as measured by the word processing program utilized to prepare

the brief.

DATED:         GARDEN CITY, NEW YORK
               April 24, 2023




                                               __________________________
                                               JOHN S. WALLENSTEIN, ESQ.




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